Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 1 of 7

UNITED S'I`ATES DIS'I`RIC'I` COURT

 

 

DIS’I`RICT OF MARYLAND
NORTHERN DIVISXON

Pauline Barbour,

Plaintift`, : Civii Action No.:

v. '

NCO Financial Systems, lnc.,

Def`endant.

COMPLAINT

For this Complaint, the Plaintift`, Pauline Barbour, by undersigned counsel, states as foliows:

JURISDIC'I`ION

l. This action arises out of Defendant’s repeated violations of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Piaintifi`s personal privacy by
the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Venue is proper in this District pursuant to 28 U.S.C. § i39l(b), in that Defendant
transacts business here and a substantial portion of the acts giving rise to this action occurred here.

PAR'I`IES

3. Plaintiff, Pauline Barbour (hereinafter “Plaintiff”), is an adult individual residing at 1561
Guerdon Court, Pasadena, MD 21122, and is a “consuiner” as the term is defined by 15 U.S.C.

§ l692a(3).

4. Defendant NCO Financial Systems, lnc. (hereinaf’tel' “Defendant”), is an entity

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 2 of 7

incorporated in the state of Maryland with a principal address of l804 Washington Blvd., Baltimore,
MD 21230-0000 , operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.s.c. § 16923(6).

5. The names of the individual coliectors are unknown but they will be added by

amendment when determined through discovery.
FACTUAL ALLEGATIONS

6. Plaintif`f" s son incurred a financial obligation that was primarily for family, personal or

househoid purposes, and which meets the definition of a “debt” under 15 U.S.C. § l692a(5).

7. Thereafter, the debt was purchased, assigned or transferred to Defendant for collection

from Plaintiff.

8. The Defendant then began attempts to collect this debt from the Plaintiff, which was a

“comniunication” as defined in 15 U.S.C. § 1692a(2).
9. The Defendant called the Plaintiff` seeking to collect a debt incurred by the Plaintiff’s son.
10. The Plaintiff sent the Defendant a cease and desist letter.
l 1. The Defendant called the Piaintiff` two or more times per week.

l2. The Plaintiff has suffered actual damages as a result of these illegal collection
communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,
embarrassment amongst other negative emotions, as well as suffering from unjustified and abusive

invasions of personal privacy at the Plaintiff"s horne.

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 3 of 7

COUNT I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

13. Plaintiff incorporates by reference all of the above paragraphs of this Compiaint as

though fully stated herein.

14. The Defendant contacted third parties and failed to identify themselves and further failed

to confirm or correct location information, in violation of 15 U.S.C. § 1692b(i).

15. The Defendant contacted third parties in regards to the Plaintift"s debt on numerous

occasions, without being asked to do so, in violation of 15 U.S.C. § 1692b(3).

16. The Defendant contacted the Plaintit`t` at a place and during a time known to be

inconvenient for the Plaintiff, in violation of 15 U.S.C. § 16920(a)(1).

17. The Defendant contacted the Plaintiff after having received written notification from the

Plaintiff to cease communication, in violation of 15 U.S.C. § 1692c(c).

18. The Defendant caused a phone to ring repeatedly and engaged the Plaintiff in telephone

conversations, with the intent to annoy and harass, in violation of 15 U.S.C. § 1692d(5).

19. The Defendant misrepresented the character, amount and legal status of the debt, in

violation of 15 U.S.C. § 1692€(2).

20. The Def`endant attempted to collect an amount not authorized by the agreement creating

the debt, in violation of 15 U.S.C. § 1692f(1).

21. The foregoing acts and omissions of the Defendant constitute numerous and multiple

violations of the FDCPA, including every one of the above-cited provisions

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 4 of 7

22. The Plaintiff is entitled to damages as a result of Defendant’s violations

M

vIoLA'rIoNs or THE MARYLAND CoNsUMER DEBT CoLLECTloN Acr
MD. CoDE COMM. LAW § 14~201, erseq.

23. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein.
24. The Defendant is a “collector” as defined under MD. Code Comm. Law § 14-201(b).
25. The debt is a “consurner transaction” as defined under MD. Code Comin. Law § 14-
201(0).
26. The Defendant repeatedly contacted the Plaintiff with the intent to harass or abuse, in

violation of MD. Code Comm. Law § 14»202(6).

27. The Defendant attempted to claim and enforce a right which the Defendant did not have a

legal right to enforce or claiin, in violation of MD. Code Connn. Law § 14-202(8).

28. The Plaintiff suffered emotional distress and mental anguish as a result of the

Defendant’s repeated contact.
29. The Plaintiff is entitled to damages proximately caused by the Defendant’s violations

COUNT III
INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

30. Plaintiff incorporates by reference ali of the above paragraphs of this Complaint as

though fully stated herein.

31. The Restatemem ofTor'ts, Second, § 652(b) defines intrusion upon seclusion as, “One

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 5 of 7

Who intentionally intrudesl . .upon the solitnde or seclusion of another, or his private affairs or concerns,
is subject to liability to the other for invasion of privacy, if the intrusion would be highly offensive to a

reasonable person.”

32. Maryland further recognizes the Plaintiff’s right to be free from invasions of privacy, thus

Defendant violated Maryland state law.

33. Defendant intentionally intruded upon Plaintiff's right to privacy by continually harassing
Plaintiff with phone calls to her home and by threatening to come to her home to seize her personal
belongings

34. The telephone calls made by Defendant to Plaintiff were so persistent and repeated with
such frequency as to be considered “hounding the plaintiff"’ and “a substantial burden to her existence,”

thus satisfying the Restatement ofTorts, Second, § 652(b) requirement for an invasion of privacy.

35. The conduct of the Defendant in engaging in the illegal collection activities resulted in
multiple invasions of privacy in such a way as would be considered highly offensive to a reasonable

pei'SOIi.

36. As a result of the intrusions and invasions, Plaintiff is entitled to actual damages in an

amount to be determined at trial from Defendant

37. All acts of Defendant and its agents were committed with malice, intent, wantonness, and

recklessness, and as sach, Defendant is subject to punitive damages

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 6 of 7

PRAYER FOR RELIEF
WHEREFORE, Plaintifl` prays that judgment be entered against Defendant

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant;

2. Statutory damages of $1,000.00 pursuant to l5 U.S.C. § 1692l<(a)(2)(A) against
Defendant;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
§ 1692k(a)(3) against Defendant;

4. Actual damages pursuant to MD. Code Comm. Law § 14~203;

5. Actual damages from Defendant for the all damages including emotional distress
suffered as a result of the intentional, reckless, and/or negligent FDCPA violations
and intentional, reckless, and/or negligent invasions of privacy in an amount to be

determined at trial for Plaintiff;

Case 1:09-cv-OO765-CCB Document 1 Filed 03/27/09 Page 7 of 7

6. Punitive dainage; and
7. Such other and further relief as may be just and proper.
TRIAL BY JURY DEMANDED ()N ALL COUNTS
Dated: March 18, 2009
Respectfuliy submitted,
By /s/ Forrest E. Mavs

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